Case 2:04-cr-20005-SH|\/| Document 55 Filed 06/22/05 Page 1 of 2 Page|D 67

 

iN THE UNITED STATES DISTRICT COURT H‘»E"Y‘
FOR THE WESTERN DISTRICT 0F TENNESSEE 8
WESTERN DrvisloN 5 JUH 22 PH 3= 35

 

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UNITED STATES OF AMERICA 1 WD ( l~ T,N MEMPH!$

V. /
GEROME MILEY 0461‘20005-1-Ma

a/kla Kassiem ]. Miley 04cr20006-1-Ma

 

ORDER ON ARRAIGNMENT

This cause came to be heard on 22 0 the United States Attorney
for this district appeared on behalf of the emment, and the defendant appeared in person and with

counsel:

 

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NAME___C,_TM who is Retained/Appointed.

______-d

 

The defendant, through coun sel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

t/TEe defendant, (not havin ade bond) (being a st prisoner) (being a federal
prisoner) (being held without bond pursuant to BRA of 1 84), is remanded to the custody
of the U.S. Marshal.

The defendant, Who is not in custody, may stand o:/h;;present bond.

 

UNITED STA ES MAGISTRATE ]UDGE

CHARGES - 18:1001.F
STATEMENTS OR ENTRIES GENERALLY

Attorney assigned to Case: C. McMullen

Age: 2 c(

Thle document entered on the docket sheet n compliance 56 f
wsm ama ss ana/or mm mch on la 12 S;Q§ d .»

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 55 in
case 2:04-CR-20005 Was distributed by faX, mail, or direct printing on
June 23, 2005 to the parties listed.

 

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Honorable Samuel Mays
US DISTRICT COURT

